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            EXHIBIT H
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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

 STANDING ROCK SIOUX TRIBE; YANKTON
 SIOUX TRIBE; ROBERT FLYING HAWK;
 OGLALA SIOUX TRIBE,                Case No. 1:16-cv-1534-JEB
                                    (and Consolidated Case Nos. 16-cv-
              Plaintiffs,           1796 and 17-cv-267)
    and
 CHEYENNE RIVER SIOUX TRIBE; SARA
 JUMPING EAGLE ET AL.,
                 Plaintiff-Intervenors,
           v.
 U.S. ARMY CORPS OF ENGINEERS,
                 Defendant-Cross Defendant,
    and
 DAKOTA ACCESS, LLC,
                 Defendant-Intervenor-Cross
                 Claimant.

                         ______________________________

      DECLARATION OF LAURA T.W. OLIVE, PHD IN SUPPORT OF
     DAKOTA ACCESS, LLC’S BRIEF ON THE QUESTION OF REMEDY
                 ______________________________

   1. My name is Dr. Laura T.W. Olive. I am an Associate Director at National

Economic Research Associates, Inc. (“NERA”). My business address is 99 High Street,

Boston, Massachusetts, 02110.

   2. I have a PhD in economics from Northeastern University, with a major field of

Industrial Organization. My coursework and dissertation focused on regulated industries
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and those facing competition including energy, transport, and communications. I also have

a B.A. in economics with a minor in public policy from Simmons College.

   3. I joined NERA in 2012 as an associated consultant while finishing my dissertation,

and as a full-time consultant in 2014. I frequently analyze the economics of gas and oil

markets and long-lived energy infrastructure projects (such as pipelines, refineries, and

liquefied natural gas export facilities) around the world. I have evaluated energy markets,

development, transport, and processing in the context of regulation and disputes in North

and South America, Africa, Australia, and New Zealand. In 2016, I published “The Politics

of U.S. Oil Pipelines: The First Born Struggles to Learn from the Clever Younger Sibling,”

in the Energy Law Journal (with Dr. Jeff D. Makholm), which discusses the regulation of

oil and gas pipelines in the United States. I regularly speak to legal and industry groups

on energy regulation, competition, and market dynamics. My curriculum vitae is attached

as Exhibit 1.

   4. This declaration describes my conclusions regarding the impact to those that rely

on the Dakota Access Pipeline (“DAPL”) during this period of economic uncertainty if the

pipeline is shut down while the U.S. Army Corps of Engineers completes its Environmental

Impact Study (“EIS”) as ordered by the Court.

   5. I conclude that shutting down DAPL would impede or lengthen the recovery from

the current economic downturn for many who currently rely on the pipeline. DAPL

represents an important crude oil transport link between producers and consumers—it is

the most efficient and direct means of moving crude oil from the Bakken region to major

refineries in the Midwest and the Gulf Coast. Producers, refineries, and consumers benefit



                                            2
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from the lower costs of crude oil transport through DAPL and states such as North Dakota

rely on oil revenues as a large portion of their budgets. Taking DAPL offline would also

reduce significantly state tax revenue at a time when public and private resources are, or

will be, strained. In addition, current economic conditions are particularly difficult for the

U.S. oil industry because of added pressures of simultaneously declining demand and oil

prices. The entities directly upstream and downstream of DAPL have made significant,

long-term infrastructure investments in part due to reliance on the stable means of crude

oil transport that the pipeline provides. Shutting down DAPL at a time of economic

uncertainty and forcing those entities to find alternate sources of transportation or supply

will negatively affect investor expectations for the U.S. oil and gas industry as well as the

larger U.S. economy because the oil industry contributes significantly to the U.S. Gross

Domestic Product (“GDP”).

DAPL Represents An Important Transport Link Between Producers And Consumers

   6. DAPL plays an important part in the North American crude oil market, which has

experienced significant change in recent years due to a shift in the source of the crude oil

supply (primarily from foreign sources to domestic sources and from increased supply in

the Northern Plains states and Texas). The Bakken region—an area in North Dakota,

Montana, and across the border into Canada—is a new source of domestic crude oil that

has become increasingly prominent due to improvements in extraction technologies. North




                                              3
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Dakota is now the second largest oil-producing state in the United States.1 In December

2019, the Bakken region produced 11.6 percent of total U.S. crude oil.2 With a maximum

authorized throughput of 570,000 barrels per day (bpd) in December 2019, DAPL

transported nearly 40 percent of all Bakken production and 4.5 percent of all crude

oil produced in the United States.3 The majority of the crude oil shipped on DAPL from

the Bakken to Patoka, Illinois is then carried by the Energy Transfer Crude Oil Pipeline

(“ETCOP”) to refineries in the Gulf Coast region.

   7. The Bakken region produces light, sweet crude oil. Crude oil used by refineries

across the United States has become lighter since 2011 as U.S. refineries use more

domestically produced light crude oil than before, particularly in the Gulf Coast region.

The share of domestic crude oil used by Gulf Coast refineries increased from 36 percent to

70 percent between 2011 and 2018 due in part to Bakken light crude transported by DAPL




   1
        Crude Oil Production, U.S. Energy Info. Admin. (release date Mar. 31, 2020),
https://www.eia.gov/dnav/pet/pet_crd_crpdn_adc_mbblpd_m.htm.
   2
        See Drilling Productivity Report, U.S. Energy Info. Admin. (release date Apr. 13,
2020), https://www.eia.gov/petroleum/drilling/#tabs-summary-2 (see “Report data.xlsx”
for complete historical data and “Bakken Region” tab: reporting 1,482,224 bpd of crude
oil produced in the Bakken region in December 2019); U.S. Field Production of Crude Oil,
U.S. Energy Info. Admin. (release date Mar. 31, 2020), https://www.eia.gov/dnav/pet/hist
/LeafHandler.ashx?n=PET&s=MCRFPUS2&f=M (reporting 12,804,000 bpd total U.S.
crude oil produced in December 2019).
   3
        See Drilling Productivity Report, supra (reporting 1,482,224 bpd of crude oil
produced in the Bakken region in December 2019); U.S. Field Production of Crude Oil,
supra (reporting 12,804,000 bpd total U.S. crude oil production in December 2019).




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and ETCOP.4 Overall the portion of lighter grades of crude oil receipts increased in recent

years as more domestically produced light crude oil displaced foreign oil at U.S. refineries.

   8. Transport links between resource basins and consuming regions necessarily follow

discoveries of new crude oil fields and sometimes alter direction or add capacity to bring

that crude oil to refineries to produce petroleum products. Pipeline companies (such as

Dakota Access) react to changes in the market, either in supply or demand, by modifying

existing infrastructure (e.g., ETCOP, a converted natural gas pipeline) or building new

infrastructure (e.g., DAPL). 5 But it takes time for such new transport options to develop.

Pipelines, fixed in location and serving particular routes, cannot redeploy to respond to

new market conditions. Oil and gas pipelines are characterized by high, upfront costs and

long useful lives. They are fixed and irretrievably sunk assets that require significant

capital expenditures for construction, rights of way, and licensing by state and federal

authorities well before transporting fuel. In the United States, financing for pipelines

comes from private capital where investor-owners provide funds with the expectation of a

stream of future revenue to recoup that investment.

   9. DAPL and ETCOP represent an important transport link between the producers in

the Bakken, Midwest and Gulf Coast refineries that rely upon the pipelines as a source of

crude oil, and consumers of refined petroleum products. DAPL moves more crude oil out


   4
         Crude oil used by U.S. refineries continues to get lighter in most regions, U.S.
Energy Info. Admin. (Oct. 11, 2019), https://www.eia.gov/todayinenergy
/detail.php?id=41653.
   5
        Crude Oil, Energy Transfer, https://www.energytransfer.com/crude-oil/ (last
visited Apr. 25, 2020).




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of the Bakken region per day than any other asset, and it is the least expensive, most direct

mode of crude oil transportation to major oil hubs in the Midwest and, through ETCOP,

the Gulf Coast.6 As domestic production of crude oil has increased, particularly in North

Dakota and Texas, refineries have expanded capacity in both Petroleum Administration for

Defense District (“PADD”) II (the Midwest), which includes refineries that can receive

crude oil that DAPL delivers to the oil hub in Patoka, Illinois, and numerous refineries in

PADD III (Gulf Coast), through ETCOP’s terminus at Nederland, Texas. Table 1 shows

that between 2014 and 2019, refineries in PADD II expanded capacity by 299,970 bpd or

almost 8 percent. Similarly, Table 2 describes increased capacity at refineries in PADD III

of 686,570 bpd or 7.5 percent between 2014 and 2019.7

Table 1: Refinery Operating Capacity in PADD II Increased Over the Last 5 Years
                 Region                         2014        2019     Difference         Growth
                                               (bpd)       (bpd)        (bpd)             ( %)
                                                 [A]         [B]   [C] = [B] - [A]   [D] = [C] / [A]
         Indiana-Illinois-Kentucky           2,457,745   2,650,465    192,720             7.8%
Minnesota-Wisconsin-North and South Dakota    467,500     508,515      41,015             8.8%
        Oklahoma-Kansas-Missouri              850,300     916,535      66,235             7.8%
                 TOTAL                       3,775,545   4,075,515    299,970             7.9%




   6
      U.S. Williston Basin Crude Oil Export Options - April 2020, N.D. Pipeline Auth.
(Apr. 2020), https://ndpipelines.files.wordpress.com/2020/04/25.jpg.
   7
       Refinery Capacity Report 2014, U.S. Energy Info. Admin. (release date June 25,
2014),      https://www.eia.gov/petroleum/refinerycapacity/archive/2014/refcap2014.php;
Refinery Capacity Report 2019, U.S. Energy Info. Admin. (release date June 21, 2019),
https://www.eia.gov/petroleum/refinerycapacity/archive/2019/refcap2019.php.




                                               6
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Table 2: Refinery Operating Capacity in PADD III Increased Over the Last 5 Years
                 Region                      2014        2019     Difference         Growth
                                            (bpd)       (bpd)        (bpd)             ( %)
                                              [A]         [B]   [C] = [B] - [A]   [D] = [C] / [A]
           Louisiana Gulf Coast           3,606,200   3,695,685     89,485             2.5%
               New Mexico                  130,700     136,000       5,300             4.1%
         North Louisiana-Arkansas          242,920     256,420      13,500             5.6%
             Texas Gulf Coast             4,502,626   5,007,029    504,403            11.2%
               Texas Inland                671,583     745,465      73,882            11.0%
                 TOTAL                    9,154,029   9,840,599    686,570             7.5%

   10. For example, in PADD II Marathon Petroleum completed a capacity expansion at

its Robinson, Illinois Refinery in 2016 to process light crude oil.8 In PADD III, Valero

increased the ability of its Corpus Christi refinery to process lighter crudes with a $350

million investment in 2015 and completed a similar $400 million project at its Houston

refinery in 2016.9 ExxonMobil announced an expansion of more than 65 percent (or by

250,000 bpd) at its Beaumont, Texas refinery to process light crude oil as part of a $20

billion, 10-year investment plan in the Gulf Coast.10 Producers and refiners have made

these investments due to the increased, reliable supply of domestically produced light,



   8
        Marathon Petroleum Corporation Reports First-Quarter 2016 Results, Marathon
Petroleum Corp. (Apr. 23, 2016), http://ir.marathonpetroleum.com/file/Index?KeyFile
=394128599.
   9
        Kristen Hays, Valero starting up new crude topping unit at TX refinery, Reuters
(Dec. 14, 2015), https://www.reuters.com/article/us-valero-energy-topper-startup-
idUSKBN0TX2DX20151214; BRIEF - Valero starts crude topping unit at Houston
refinery, Reuters (July 8, 2016), https://www.reuters.com/article/idUSL1N19U1M2.
   10
      ExxonMobil to proceed with new crude unit as part of Beaumont refinery expansion,
ExxonMobil (Jan. 29, 2019), https://corporate.exxonmobil.com/News/Newsroom/News-
releases/2019/0129_ExxonMobil-to-Proceed-with-New-Crude-Unit-as-Part-of-
Beaumont-Refinery-Expansion; Multi-billion Gulf investment to create tens of thousands
of high-paying jobs, ExxonMobil (Feb. 5, 2019), https://corporate.exxonmobil.com
/Energy-and-environment/Where-we-work/Growing-the-Gulf/20-billion-Gulf-
investment-to-create-tens-of-thousands-of-high-paying-jobs#Beaumont.


                                            7
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crude oil, much of which comes from the Bakken region through DAPL.

Current Economic Conditions Are Particularly Difficult For The U.S. Oil Industry

   11. Taking DAPL out of service for a year or more during the EIS process would cause

an additional shock to the energy industry during a time of economic uncertainty and would

cause additional economic hardship to those businesses that rely upon the pipeline for a

stable transport method of crude oil. In addition to the health crisis currently affecting the

global economy, the U.S. oil industry faces additional pressure from simultaneously

declining demand and oil prices (due to geopolitical events and in large part, temporary

quarantine of U.S. individuals and businesses). The oil and gas industry represents an

important part of the U.S. economy. The Federal Reserve Bank of Dallas credits the shale

boom of the last decade with supporting employment and economic growth, particularly in

North Dakota and Texas, and 10 percent of the increase in overall U.S. GDP growth

between 2009 and 2019.11

   12. The impact of COVID-19 and the resulting slowdown of economic activity and

increasing unemployment reveal strong signs of a global recession. The International

Monetary Fund April 2020 World Economic Outlook labels this decline “The Great



   11
      Mine Yucel & Michael D. Plante, GDP Gain Realized in Shale Boom’s First 10
Years, Fed. Reserve Bank of Dallas (Aug. 20, 2019), https://www.dallasfed.org/research
/economics/2019/0820; Neil Edwards, What Negative Oil Prices Mean to the Top
Exporting Countries, Forbes (Apr. 21, 2020), https://www.forbes.com/sites/neiledwards
/2020/04/21/what-negative-oil-prices-mean-to-the-top-exporting-countries
/#50df15afd164 (“For the U.S. and Canada, oil industry jobs impact consumer spending,
which in turn drives GDP.”); Bob Iaccino, How Much Does Oil and Gas Drive U.S. GDP?,
CME Grp. (June 4, 2019), https://openmarkets.cmegroup.com/15157/how-much-does-oil-
and-gas-drive-u-s-gdp.




                                              8
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Lockdown” and posits the worst recession since the Great Depression.12 Bloomberg’s

U.S. Recession Model indicates a 100 percent chance of a recession within 12 months

given increases in unemployment and falling stock prices.13 The length and severity of the

economic impact of COVID-19 is unknown, given the extent of the health emergency and

containment measures. However, prominent economists well versed in business cycles

express concern that without extensive policy responses this economic downturn will be

worse than the global financial crisis in 2008.14

   13. Policymakers’ role in fighting the virus, providing funds to constrained households

and firms, and encouraging economic activity has been made more difficult by the

restrictions required to control the spread of the virus. The federal government has recently



   12
       Int’l Monetary Fund, World Economic Outlook, April 2020: Chapter 1 - The Great
Lockdown (Apr. 2020), https://www.imf.org/en/Publications/WEO/Issues/2020/04/14
/weo-april-2020.
   13
         Reade Pickert, Yue Qiu, & Alexander McIntyre, U.S. Recession Model at 100%
Confirms Downturn is Already Here, Bloomberg (updated Apr. 8, 2020),
https://www.bloomberg.com/graphics/us-economic-recession-tracker/.
   14
        Kenneth Rogoff, Mapping the COVID-19 Recession, Project Syndicate (Apr. 7,
2020),           https://www.project-syndicate.org/commentary/mapping-covid19-global-
recession-worst-in-150-years-by-kenneth-rogoff-2020-04; Carmen M. Reinhart, This Time
Truly Is Different, Project Syndicate (Mar. 23, 2020), https://www.project-
syndicate.org/commentary/covid19-crisis-has-no-economic-precedent-by-carmen-
reinhart-2020-03; Paul Krugman, The Covid-19 Slump Has Arrived, N.Y. Times (Apr. 2,
2020),               https://www.nytimes.com/2020/04/02/opinion/coronavirus-economy-
stimulus.html; Olivier Blanchard, ‘Whatever it takes.’ Getting into the specifics of fiscal
policy to fight COVID-19, Peterson Inst. for Int’l Econ. (Mar. 30, 2020), https://www.piie
.com/blogs/realtime-economic-issues-watch/whatever-it-takes-getting-specifics-fiscal-
policy-fight-covid; Christina Pazzanese, Economists cheered by relief package but see
long, tough slog ahead, The Harvard Gazette (Mar. 25, 2020), https://news.harvard.edu
/gazette/story/2020/03/economists-cheered-by-stimulus-plan-but-see-long-tough-slog-
ahead/.




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taken steps to ease the current economic downturn through monetary and fiscal policy

actions. The Federal Reserve reduced target interest rates to between 0 and 0.25 percent,

decreased the cost to banks of borrowing from the Federal Reserve, and established a

program to assist money market funds facing increased investor demand for redemptions.15

Congress has also passed roughly $2.5 trillion in relief packages that provide for various

loans and grants for financially distressed households, businesses, industries, local

governments, and hospitals.16

   14. As these measures seek to lift the economy in general, the energy industry faces

additional strain from declining demand due to travel restrictions and business closures

intended to protect public health.17 Additionally, the American oil industry faces declining



   15
       See Implementation Note issued March 15, 2020, Bd. of Governors of the Fed.
Reserve Sys. (Mar. 15, 2020), https://www.federalreserve.gov/newsevents/pressreleases
/monetary20200315a1.htm. The Federal Reserve changes the federal funds rate (“[t]he
interest rate at which depository institutions lend their excess Federal Reserve deposits to
each other”) to affect short-term interest rates. Banks borrow from the Federal Reserve
through the “discount window” which is “[a] generic term used to refer to Federal
Reserve’s lending programs…under which credit may be provided to eligible depository
institutions.” See Glossary, Bd. of Governors of the Fed. Reserve Sys., https://
www.federalreserve.gov/regreform/reform-glossary.htm (last updated Dec. 13, 2012)
(defining “Federal funds rate” and “Discount window”); see also Federal Reserve Board
broadens program of support for the flow of credit to households and businesses by
establishing a Money Market Mutual Fund Liquidity Facility (MMLF), Bd. of Governors
of the Fed. Reserve Sys. (Mar. 18, 2020), https://www.federalreserve.gov/newsevents
/pressreleases/monetary20200318a.htm.
   16
      Coronavirus Aid, Relief, and Economic Security Act, H.R.748, 116th Cong. (2019-
2020),      https://www.congress.gov/116/bills/hr748/BILLS-116hr748enr.pdf.;Paycheck
Protection Program and Health Care Enhancement Act, H.R.266, 116th Cong. (2019-
2020), https://www.congress.gov/bill/116th-congress/house-bill/266.
   17
       See U.S. Energy Info. Admin., Short-Term Energy Outlook April 2020 at 1-2
(released Apr. 7, 2020), https://www.eia.gov/outlooks/steo/pdf/steo_full.pdf.




                                            10
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oil prices because of geopolitical events and large crude inventories at storage facilities.18

Removing DAPL from service while the U.S. Army Corps of Engineers conducts its

analysis will place even more burdens on producers and refineries connected to DAPL and

ETCOP that are already facing significant challenges, as well as states that rely on the oil

industry for tax revenues and employment.

Producers, Refineries, Consumers, And States Benefit From DAPL

   15. DAPL provides a stable, low-cost and direct means to transport Bakken light crude

oil for upstream producers to access downstream refineries. Increasing the cost of crude

oil transport to refineries increases the cost of producing refined products. Removing the

most efficient means of transporting oil out of the second most productive region in the

country in the current economic climate could make it difficult for upstream and

downstream firms to continue production if higher-priced truck and rail transport are the

only options to move crude oil from North Dakota to refining regions in the Midwest and

Gulf Coast.

   16. DAPL transported about 4.5 percent of all domestically produced crude oil in

December 2019, and almost 40 percent of the nearly 1.5 million barrels of crude oil

produced each day in the Bakken region (that is, DAPL transported nearly 17.7 million of

the 46 million barrels produced in the Bakken region that month).19 Shutting down DAPL

could potentially strand a significant portion of that oil in North Dakota because, as I



   18
        Id. at 7.
   19
       Drilling Productivity Report, supra (see “Report data.xlsx” for complete historical
data); U.S. Field Production of Crude Oil, supra.


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understand Dr. Jeff D. Makholm and Mr. William Rennicke describe in their declarations,

alternative transport options, such as rail, are not necessarily available, nor are they

comparable from a cost or operational perspective. DAPL and ETCOP provide the only

direct link between the Bakken region and crucial crude oil hubs in Patoka, Illinois and

Nederland, Texas, from which oil can reach Midwest and Gulf Coast refineries.

   17. Consumers in many states benefit from lower cost transportation for the crude oil

used to make refined products such as gasoline, jet fuel, and home heating fuel. While the

Energy Information Administration (“EIA”) currently forecasts U.S. demand for refined

products to decline in the second quarter of 2020, it expects demand to increase again by

the second half of the year.20

   18. Demand for refined petroleum products has increased in the last 10 years.21 Table

3 shows that in 2019 consumption of refined petroleum products exceeded crude oil

production in seven of the nine states through which DAPL and ETCOP pass. Only North

Dakota and Texas produced more crude oil than the volume of refined products consumed.

In 2019, Illinois residents consumed more than 20 times the volume of refined products

than the crude oil the state produced. For Kentucky, the ratio is more than 30 times, and

for Tennessee the ratio is more than 600 times.



   20
        Short-Term Energy Outlook April 2020, supra, at 8 (EIA expects lower demand
“to persist through most of 2020, but in the second half of 2020, EIA expects liquid fuels
consumption will gradually increase from these low levels as some business activity
resumes and stay-at-home orders gradually ease”).
   21
      Prime Supplier Petroleum Product Sales, U.S. Energy Info. Admin. (release date
Apr. 1, 2020), https://www.eia.gov/dnav/pet/pet_cons_prim_dcu_R20_a.htm (select
“Midwest (PADD 2)” in “Area” tab).


                                           12
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 Table 3: Consumption of Refined Products Exceeds Crude Oil Production in Most
             States along the DAPL and ETCO Pipeline Route in 2019
                                                                              Ratio of Refined Product
                                          Crude Oil Refined Product
           Pipeline         State                                              Consumption to Crude
                                          Production Consumption
                                                                                   Oil Production
                                                (thousand barrels)
                                              [A]             [B]                   [C] = [B] / [A]
                        North Dakota        512,287         28,415                        0.1
            DAPL        South Dakota         1,162          19,306                       16.6
                           Iowa*               0            54,992                         -
         DAPL/ETCO          Illinois         8,243            184,766                     22.4
                          Kentucky            2,505           84,291                     33.6
                          Tennessee            201            128,259                    638.1
            ETCO          Mississippi        17,100            69,269                     4.1
                           Lousiana          43,875           133,494                     3.0
                            Texas          1,850,105          403,031                     0.2

            Notes: *Iowa does not produce crude oil or have any proved oil reserves. Refined
            products consist of (1) motor gasoline, (2) kerosene-type jet fuel, and (3) distillates
            and kerosene.

            Sources: Crude Oil Production, U.S. Energy Info. Admin. (release date Apr. 3, 2020),
            https://www.eia.gov/dnav/pet/pet_crd_crpdn_adc_mbbl_a.htm; Prime Supplier Sales
            Volumes, U.S. Energy Info. Admin. (release date Apr. 1, 2020), https://www.eia.gov
            /dnav/pet/pet_cons_prim_dcu_SSD_a.htm.


    19. Table 4 describes the same for other states in close proximity to DAPL and ETCOP.

Most of the states in that table consumed more refined petroleum products than the amount

of crude oil produced in 2019 (the exceptions are Wyoming and Oklahoma). While

demand has temporarily decreased as a result of the travel restrictions, it is expected to

begin rising again later this year.22




    22
         See Short-Term Energy Outlook April 2020, supra, at 8.


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 Table 4: Consumption of Refined Products Exceeds Crude Oil Production in Most
            States Surrounding the DAPL and ETCO Pipeline in 2019




               Notes: *Wisconsin and Minnesota do not produce crude oil or have any proved
               oil reserves. Refined products consist of (1) motor gasoline, (2) kerosene-type jet
               fuel, and (3) distillates and kerosene.

               Sources: U.S. Energy Info. Admin. (release date Apr. 3, 2020), https://www.eia
               .gov/dnav/pet/pet_crd_crpdn_adc_mbbl_a.htm; Prime Supplier Sales Volumes,
               U.S. Energy Info. Admin. (release date Apr. 1, 2020), https://www.eia.gov/dnav
               /pet/pet_cons_prim_dcu_SSD_a.htm.

   20. States and residents along the DAPL route also benefit from the pipeline directly

through tax revenue and jobs.           As discussed more extensively in Dr. Makholm’s

declaration, North Dakota received more than half of its total state revenue in fiscal year

2019 from oil extraction and production taxes and a significant portion of that revenue is

traced to DAPL going into service in 2017. In addition, the DAPL project was approved




                                                  14
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in South Dakota,23 Iowa,24 and Illinois25 because, among other reasons, the pipeline would

bring jobs and other economic benefits to each State. As Dr. Makholm explains, those

states benefit from tax revenues as well as lower cost crude oil at refineries with access to

Patoka, Illinois.

    21. Shutting down DAPL would have direct negative impacts on many parties, from

suppliers to refiners and producers all the way to individual consumers, whether in the form

of reduced access to lower-cost crude oil or in reduced benefits from states who rely on the

pipeline for tax and royalty revenue. There is significant uncertainty in the global energy

markets due to geopolitical events and rapidly changing demand. However, taking DAPL

out of service at this time would be an additional shock to the U.S. energy industry, an

important component of the U.S. economy, and it would therefore deepen economic

uncertainty and could inhibit economic recovery.



    Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is

true and correct.

Executed: April 28, 2020
                                                      ______________________________
                                                      Laura T.W. Olive, PhD




    23
     S.D. Pub. Utils. Comm’n, In Matter of Application of Dakota Access, LLC, No.
HP14-002, Final Decision and Order at 20 (Dec. 14, 2015).
    24
      Iowa Dep’t of Commerce Utils. Bd., In re Dakota Access, LLC, No. HLP-2014-0001,
Final Decision and Order at 46 (Mar. 10, 2016).
    25
     Ill. Commerce Comm’n, Dakota Access LLC, No. 14-0754, Order at 26-28 (Dec. 16,
2015).


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               OLIVE
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                                                              Laura T. W. Olive, Ph.D.
                                                              Associate Director

                                                              NERA Economic Consulting
                                                              16th Floor, 99 High Street
                                                              Boston, Massachusetts 02110
                                                              Tel: +1 617 927 4588 Fax: + 1 617 927 4501
                                                              laura.olive@nera.com
                                                              www.nera.com




                              LAURA T. W. OLIVE
                                   Associate Director

Dr. Olive is an Associate Director in NERA’s Global Energy Practice, based in Boston. She has
8 years of experience in analyzing the regulation and economics of energy and transport
including gas, liquefied natural gas, oil, petroleum products, electricity, pipelines and rail
industries. She has extensive experience in the economics of many facets of energy markets
including the value of oil and gas assets (including LNG) from exploration and production to
gathering, transport to market, marketing, and distribution. She has written extensively on the
topic of gas markets and the role of LNG as a source of supply. She has also published papers on
the interaction of gas and electricity regulation and markets during New England’s polar vortex
events. Dr. Olive recently published a paper on the applications of demand response and energy
efficiency in gas markets.

Dr. Olive holds a PhD in economics from Northeastern University, specializing in Industrial
Organization, where research focused on analyzing competition and market structure issues in
the telecommunications and freight rail industries. She completed her Bachelor of Arts degree,
summa cum laude, at Simmons College, majoring in economics and minoring in public policy.

Qualifications
2013                  NORTHEASTERN UNIVERSITY
                      Ph.D. Economics

2008                  SIMMONS COLLEGE
                      B.A. Economics

Career Details
2012-Present          NERA ECONOMIC CONSULTING
                      Associate Director, Senior Consultant, Consultant, Associated Consultant
                      Boston, Massachusetts

2010–2013             NORTHEASTERN UNIVERSITY
                      Lecturer, Principles of Microeconomics, Boston, Massachusetts

2008–2010             NORTHEASTERN UNVERSITY
                      Research & Teaching Assistant, Department of Economics, Boston,
                      Massachusetts

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2007, 2008                 VERIZON COMMUNICATIONS
                           Summer Intern, Video Network Services, Basking Ridge, New Jersey

2006–2008                  SIMMONS COLLEGE
                           Writing Assistant, Department of Economics, Department of Political
                           Science, Boston, Massachusetts


Testifying Experience
Surrebuttal Testimony on behalf of Dakota Access, LLC and Energy Transfer Crude Oil
Company, LLC., Docket No. 19-0673, regarding a Joint Petition for an Order under Section 8-
503 of the Public Utilities Act for authority to install additional pumping stations and pumping
facilities on existing certificated pipelines in the State of Illinois, before the Illinois Commerce
Commission, January 17, 2020.

Rebuttal Testimony on behalf of Dakota Access, LLC and Energy Transfer Crude Oil Company,
LLC., Docket No. 19-0673, regarding a Joint Petition for an Order under Section 8-503 of the
Public Utilities Act for authority to install additional pumping stations and pumping facilities on
existing certificated pipelines in the State of Illinois, before the Illinois Commerce Commission,
October 22, 2019.

Direct testimony (with Julie M. Carey), on behalf of American Electric Power Service
Corporation, regarding American Electric Power Service Corporation’s Market Power Analysis
for Southwest Power Pool Balancing Authority Area, before the Federal Energy Regulatory
Commission, June 26, 2018.

Direct testimony, on behalf of Constellation NewEnergy, Inc. and Constellation Energy Services
Inc., in In the matter, on the Commission’s own motion, to open a docket to implement the
provisions of Section 6w of 2016 PA 341 for Cloverland Electric Cooperative’s service territory,
Case No 7-18258, before the Michigan Public Service Commission for the State of Michigan.

Direct testimony, on behalf of Constellation New Energy, Inc. and Constellation Energy
Services, Inc., in In the matter, on the Commission’s own motion, to open a docket to implement
the provisions of Section 6w of 2016 PA 341 for Upper Michigan Energy Resources
Corporation’s service territory, Case No. U-18253, before the Michigan Public Service
Commission for the State of Michigan.

Direct testimony, on behalf of Constellation New Energy, Inc. and Constellation Energy
Services, Inc., in In the matter, on the Commission’s own motion, to open a docket to implement
the provisions of Section 6w of 2016 PA 341 for Upper Peninsula Power Company’s service
territory, Case No. U-18254, before the Michigan Public Service Commission for the State of
Michigan.

Project Experience




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2020                       State of Alaska, Department of Natural Resources
                           Provide analysis and support to DNR on asset transfer between two oil
                           firms in Alaska.

2019                       Institutional Equity Investors
                           Cost of capital for investors in Pacific Gas & Electric.

2019                       CAMMESA Argentina
                           International review of gas markets and regulation for the electric system
                           operator in Argentina.

2019                       Confidential Client
                           Common carriage and market power dynamics for a major crude oil
                           pipeline in Canada.

2019                       Just Energy
                           Support for retail energy provider in litigation regarding prices charged for
                           energy supply service in New York.

2019                       Confidential Client
                           Support creditors in US bankruptcy litigation.

2019                       Council of Australian Governments (COAG)
                           Report for COAG to review alternative regulatory models for natural gas
                           pipelines and provide potential reform options.

2018                       Confidential International Oil Company
                           International arbitration for a pipeline transportation contract dispute
                           between two major oil companies.

2018                       Confidential Canadian Rail Company
                           Support for questions with regulations of transportation in merger between
                           a rail company and a trucking firm in Canada.

2018                       Comisión Reguladora de Energía (CRE)
                           Support the Mexican government separate wholesale and retail energy
                           functions in Mexico.

2018                       Comisión Reguladora de Energía (CRE)
                           Support the Mexican government initiative to reform its natural gas sector.

2018                       Confidential US Electric and Gas Utility
                           Innovative Regulatory Frameworks
                           Develop report on North American regulatory frameworks for a large
                           utility.


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2018                       Interstate Natural Gas Association of America (INGAA)
                           Support for comments on the FERC Notice of Inquiry on changes to
                           Pipeline Certification requirements.

2018                       Confidential US Electric Utility
                           Analysis of vertical market power concerns in a merger between two
                           electric utilities.

2018                       Enbridge Gas Distribution
                           Report for Enbridge in discussions with the Ontario Energy Board
                           regarding the OEB initiative to change its structure and role.

2017 – 2018                Confidential North American Oil Company
                           Crude Oil Pipeline Affiliates
                           Complaint before the National Energy Board regarding common carrier
                           obligations.

2017                       Confidential Shortline Railroad Company
                           Trackage Rates
                           Analysis of interest rental component associated with trackage rights on a
                           freight railroad.

2017                       Confidential Shortline Railroad Company
                           Rail Rates
                           Analysis of revenue factors associated with commodity shipments on
                           shortlines.

2017                       Constellation NewEnergy, Inc. and Constellation Energy Services
                           Capacity Charge
                           Economic analysis and testimony regarding Michigan’s SRM capacity
                           charge for retail electricity suppliers in Michigan

2017                       Enbridge Gas Distribution, Union Gas Limited
                           Total Factor Productivity
                           Calculation of X-factor for the Companies’ Price Cap IR Plans.

2017                       Retail Energy Supply Association
                           Retail Electricity and Gas
                           Analysis of the retail electricity and gas market in New York State for
                           regulatory hearings.

2017                       Oil Production/Marketing Company
                           International Arbitration
                           Valuation of an oil product distribution and marketing firm in Japan.




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2017                       Confidential Coal Producer
                           International Arbitration
                           Analysis of damages associated with transportation of coal by rail in
                           Colombia.

2016-2017                  Plains Midstream Canada ULC
                           Cost of Service and Toll Design
                           Analysis of cost of service and toll design for a Group 2 NGL pipeline in
                           Canada.

2016                       Confidential Construction Company
                           Chilean Toll Road Concessions
                           Analysis of bid model for toll road concessions in Chile. Calculation of
                           damages related to unsuccessful bid.

2016                       New Gulf Resources
                           Gas Gathering Assets Valuation and Damages
                           Conducted analysis and prepared a report describing the value of gas
                           gathering assets in Texas using a blended approach of the market value
                           and income capitalization methods. Determined damages resulting from a
                           sale of these assets.

2016                       FortisBC Energy Inc
                           Tolling for Pipeline Extension and Expansion in British Columbia
                           Analysis of the impact of NGTL’s Towerbirch Expansion Project on
                           competition in the Northeast British Columbia market. Assisted in
                           preparation of testimony to describe the impact of rolled-in tolls in
                           contrast to incremental tolls for the Project.

2015-2016                  Confidential Unconventional Gas Producer
                           Pipeline Cost of Service
                           Analysis of the cost of service for gathering lines in a major natural gas
                           shale play in the United States.

2015-2016                  Confidential Asphalt Producer
                           Oil Futures Liquidity
                           Analysis of the liquidity of WTI during temporary southbound capacity
                           constraints at Cushing, OK.

2015-2016                  Smithyman & Zakoura, Chartered/Jayhawk Pipeline
                           Oil Pipeline Policy and Tariffs
                           Development of expert testimony and calculation of tariff in relation to a
                           Kansas oil pipeline capacity lease case before the FERC.

2015-2016                  SFF-TIR
                           Valuation


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                           Development of expert testimony and modeling to evaluate appropriate
                           cash-out merger share price for minority shareholders in a pipeline
                           inspection services firm.

2014-2015                  Confidential Australian Joint Venture
                           Gas Supply Agreement Negotiation
                           Assisted in development of materials, presentations, and IR responses in a
                           cost review and LNG contract price negotiation in Australia.

2014-2015                  Alliance Pipeline
                           Restructuring of services and tolls
                           Development of expert testimony and IR responses as part of Alliance’s
                           restructuring proposal with the National Energy Board, including
                           modelling of pipeline tolls and first-of-its-kind assessment of natural gas
                           pipeline market power in the United States and Canada.

2014-2015                  STP Energy
                           Offshore Exploration and Production Permit Arbitration
                           Development of expert testimony with regards to an agreement between
                           STP Energy and Discovery Geo to develop an offshore gas field in New
                           Zealand in arbitration at the ICC International Court of Arbitration.

2014-2015                  Gazprom OAO
                           Civil dispute involving gas field development and LNG importation
                           Assisted in modelling of LNG netback prices and development of an
                           expert report, and preparation for a jury trial in front of a Tarrant County,
                           Texas District Court in relation to a dispute between a U.S oil company
                           and Russian oil company regarding ownership of the a Russian gas field,
                           tortious interference, and trade secret misappropriation with regards to a
                           plan to import LNG into the United States in the mid-2000s.

2014-2015                  North West Shelf Joint Venture (NWSJV)
                           Gas Supply Agreement Arbitration
                           Development of expert testimony with regard to contract take-or-pay
                           provisions and gas swap agreements in Australia.

2014                       FortisBC Energy Inc
                           Tolling for pipeline extensions in Canada
                           Analyzed toll methodology, opposing expert evidence, and regulatory
                           precedent to develop expert testimony, IR responses, and closing
                           arguments in front of the National Energy Board with regards to the
                           appropriateness of rolled-in versus incremental tolling of NGTL’s
                           proposed North Montney Mainline extension of the existing NGTL
                           Alberta System.

2014                       Gáz Métro, Enbridge Gas Distribution, Union Gas Distribution


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                           Contract renewal provisions
                           Analyzed settlement provisions, opposing expert evidence, market access
                           in Ontario and Quebec, and regulatory precedent to develop expert
                           testimony and IR responses in front of the National Energy Board with
                           regards to the Market Area Shippers settlement agreement with
                           TransCanada.

2014                       Confidential Australian Joint Venture
                           Pricing Principles for Domestic Gas Reservation Policy
                           Formulated a methodology to determine a schedule of reasonable prices
                           based on long-run incremental average cost (LRAIC) for obligations to
                           sell gas under the Western Australian Domestic Gas Reservation Policy.


2014                       Royal Bank of Canada
                           Gas Supply Agreement Dispute
                           Development of an expert report in a gas supply agreement dispute
                           between RBC and three municipal gas distributors in Nevada and Iowa
                           involving analysis of Basel III regulations, capital requirements,
                           commodity swaps and interest rate swaps. The case was settled prior to
                           completion of the report.

2014                       Energy Transfer Partners
                           Damages Calculations and Economic Analysis in Pipeline Dispute
                           Economic analysis and research of the oil refinery market in the Gulf
                           Coast as well as review of case documents and information in the public
                           domain to assist in preparation for jury trial in Texas court.


2014                       Confidential Automobile Manufacturer
                           Damages calculation in EPA dispute
                           Assisted in the collection and analysis of market cost, price, and vehicle
                           characteristic data negotiation between two manufacturers and the
                           Environmental Protection Agency.

2012-2014                  Confidential US Telecommunications Firm
                           Damage calculation in a class action suit
                           Developed various methodologies to sample data and to calculate damages
                           based on errors in billing system data that resulted in incorrect charges to
                           customers.

2013                       Mexican Association of Mass Distribution and Delivery Enterprises
                           (AMEDEM)
                           Mexican postal sector reform
                           Assisted in the development of a report providing economic analysis of
                           the Mexican Postal Sector. Conducted extensive economic literature
                           review on economies of scale, scope, density, demand characteristics, as


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                           well as reviewed studies examining the impact of liberalization in postal
                           markets and other network industries around the globe. Reviewed
                           international experience with regards to various policies including pricing
                           and universal service provisions. Conducted market power assessment of
                           AMEDEM and SEPOMEX.

2013                       Sprint
                           Early termination fee class action
                           Compilation and analysis of advertising data for a class action suit
                           regarding mobile telephone contract early termination fees.


2012-2013                  Puerto Rico Telephone
                           Cable television antitrust
                           Conducted economic and regulatory literature review to assist in the
                           relevant market definition for cable television in Puerto Rico by
                           examining cable demand, inclusion of direct broadcast satellite systems,
                           quality and price impacts, and the effect of telco entry into the market.
                           Assisted in the development of demand models and measures of consumer
                           surplus in this market.


2012-2013                  AméricaMóvil
                           Asymmetric regulation and must carry obligations
                           Conducted economic literature review on asymmetric mobile termination
                           rates and must carry obligations around the globe.

2012-2013                  Confidential Retail Client
                           Evaluation of exclusive supplier agreements in Mexico
                           Assisted in the development of explanatory tables displaying data and
                           results and auditing of calculations presented in the report which analyzed
                           market power based on the impact of consumer perceptions on exclusive
                           supplier agreements collected through surveys conducted in various
                           Mexican cities.

2012                       AméricaMóvil
                           Fixed-line Infrastructure
                           Research of Telmex fixed-line telecommunications network infrastructure
                           based on public filings with the Securities and Exchange Commission.


2012                       Verizon Communications
                           Bankruptcy Litigation
                           Assisted in the development of an expert report discussing regulatory
                           precedent and firm prudence in the sale of Verizon Communications assets




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                           in Maine, New Hampshire, and Vermont to FairPoint Communications
                           which later resulted in bankruptcy of FairPoint.


Publications
2019                       Polar Vortexes in New England: Missing Money, Missing Markets, or
                           Missing Regulation?
                           Economics of Energy & Environmental Policy, March 2019, Volume 8,
                           Issue 2 (with Jeff D. Makholm)

2019                       A Hitchhiker’s Guide to Gas Demand Response
                           Working Paper

2019                       Extending Demand Response to the Natural Gas Industry
                           Environmental & Energy Litigation, American Bar Association, Winter
                           2019, Volume 3, Issue 2

2018                       Risky Business: New Trends in North American Regulation
                           Working Paper (with Max N. Luke)

2016                       Vision of Liquefied Natural Gas Hub: Mirage on the Ocean?
                           Public Utilities Fortnightly, 154(11): 26-29,84.

2016                       Variations in Inland Transport Regulation: a Barrier to a
                           Competitive Global LNG Market
                           Current Sustainable/Renewable Energy Reports, 3(1): 10-17.

2016                       The Politics of US Oil Pipelines: The First Born Struggles to Learn
                           from the Clever Younger Sibling
                           Energy Law Journal, November 2016. pp. 409-427. (with Jeff D.
                           Makholm)

2015                       A Petroleum Tanker of a Different Color: Barriers to a Global Gas
                           Market via LNG
                           Working Paper (with Jeff. D. Makholm)

2013                       Three Essays on the Impact of Market Structure on Network
                           Industries
                           Dissertation, completed in partial fulfillment of the requirement for the
                           degree of Doctor of Philosophy in the Field of Economics

Presentations
2020                       “Oil, Gas and the Energy Transition,” MIT Energy Conference 2020,
                           Cambridge, MA, April 2, 2020


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                                                                                Laura T.W. Olive

2019                       “The Economics of an Arbitration,” 3rd BVI International Arbitration
                           Conference, British Virgin Islands, November 22, 2019

2019                       “Discounted Cash Flow Method of Valuing Damages in Arbitration,”
                           Harvard International Arbitration Law Students Association, Cambridge,
                           MA, March 26, 2019

2017                       “Crude Oil and Transportation Market and Regulatory
                           Developments,” 2017 AOPL Annual Business Conference, Seattle, WA,
                           September 21, 2017

2017                       “An Institutional Perspective on the Regulation of Pipelines in the
                           United States,” Energy Bar Association 2017 Annual Meeting and
                           Conference, Washington, D.C., April 3, 2017

2016                       “The Uncertain Connection between Unbundled Electricity
                           Distributors and Interstate Pipeline Capacity,” Law Seminars
                           International Energy in the Northeast Seminar, Boston, Massachusetts,
                           September 23, 2016.

2015                       “A Petroleum Tanker of a Different Color: Barriers to a Global Gas
                           Market via LNG,” 80th International Atlantic Economic Society
                           Conference, Boston, Massachusetts, October 9, 2015.


Memberships
Boston International Arbitration Council, Advisory Board Member

Institute for Energy Law Young Energy Professionals, Member

Chartered Institute of Arbitrators, North America Branch Young Members Group,
Steering Committee Member




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